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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA
                                        FOURTH DIVISION


  RODERICK ARNOLD, et al.,                         )    CIVIL ACTION NO. 01-CV-2086
  on behalf of themselves and all others           )    (DWF/AJB)
  similarly situated,                              )
                                                   )    CLASS ACTION
                   Plaintiffs,                     )
                                                   )
  v.                                               )
                                                   )
  CARGILL, INCORPORATED,                           )
                                                   )
                   Defendant.                      )


                         NOTIFICATION OF CONVENTIONAL FILING

                                                   OF

                          APPENDIX 1: Summary Exhibits (AMENDED)

                            Summary Exhibit 9 [FILED UNDER SEAL]

                                      FILED CONVENTIONALLY



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